                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION



UNITED STATES OF AMERICA,                )
                                         )
     Plaintiff,                          )
                                         )                  3:11-cr-00012
v.                                       )                    .
                                         )
ROBERT PORTER, et al.                    )
                                         )
     Defendants.                         )


                                             ORDER

                  Document #851, Defendant Alto Parnell’s Motion in Limine #1, Co-defendants’

Statements/Confessions, and joined by Xavier Parnell, Dmitri Johnson, Porter, Cross, Dinkins, and

Vance alleging the possibility of a Bruton v. United States problem is DENIED, but it may be re-

asserted at trial if the situation arises.

          It is so ORDERED.




                                              Thomas A. Wiseman, Jr.
                                              Senior United States District Judge




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